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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division

UNITED STATES OF AMERICA,                 )
                                          )
             Plaintiff,                   )
       v.                                 )
                                          )
                                          )
                                          )
0.1785 ACRES OF LAND, MORE OR             )
LESS, SITUATE IN CHESAPEAKE,              )
VIRGINIA, AND MSF INVESTORS II,           ) Civil No. 2:24-cv-23
LLC, ET AL.,                              )
              Defendants.                 )
                                          )
_________________________________________ )


                           COMPLAINT IN CONDEMNATION

        1.    This is a civil action brought by the United States of America, at the request of the

United States Department of the Army (“Army”), for the taking of land in Chesapeake, Virginia,

under its power of eminent domain and through a Declaration of Taking pursuant to 40 U.S.C.

§ 3114, and for the determination and award of just compensation to the owners and parties in

interest.

        2.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1358. The Court has venue under 28 U.S.C. § 1403.

        3.    The authority for the acquisition is set forth in Schedule A, which is attached

hereto and made a part hereof.

        4.    The public purpose for which the land is taken is set forth in Schedule B, which is

attached hereto and made a part hereof.

        5.    A legal description of the land taken is set forth in Schedule C, which is attached

hereto and made a part hereof.
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       6.      A plat (map) showing the land taken is set forth in Schedule D, which is attached

hereto and made a part hereof.

       7.      The estate taken in the land is described in Schedule E, which is attached hereto

and made a part hereof.

       8.      The estimate of just compensation is stated in Schedule F, which is attached

hereto and made a part hereof.

       9.      The names and addresses of known parties having or claiming an interest in said

land are set forth in Schedule G, which is attached hereto and made a part hereof.

       WHEREFORE, Plaintiff United States of America requests judgment that the property

and interests be condemned, that just compensation for the taking be ascertained and awarded,

and the Court award such other relief as may be lawful and proper.




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DATED: January 11, 2024         Respectfully submitted,

                                TODD KIM
                                ASSISTANT ATTORNEY GENERAL
                                ENVIRONMENT AND NATURAL RESOURCES
                                DIVISION

                                JESSICA D. ABER
                                UNITED STATES ATTORNEY

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